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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

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                                   7    IN RE: CATHODE RAY TUBE (CRT)                        MDL No. 1917
                                        ANTITRUST LITIGATION
                                   8                                                         Case No. C-07-5944 JST

                                   9                                                         ORDER TO SHOW CAUSE WHY THE
                                        This Order Relates To:                               COURT SHOULD NOT EXCLUDE ALL
                                  10                                                         EVIDENCE OF UPSTREAM PASS-ON
                                                                                             CALCULATIONS
                                  11    ALL DIRECT ACTION PLAINTIFFS
                                  12
Northern District of California
 United States District Court




                                  13          With the exception of Sharp, Direct Action Plaintiffs (“DAPs”) purchased CRT products

                                  14   from Defendants’ subsidiaries and affiliates (“CRT Product Manufacturers”). The CRT Product

                                  15   Manufacturers produced CRT products using CRTs sold by Defendants. Because CRT Product

                                  16   Manufacturers are direct purchasers and the DAPs are technically indirect purchasers, the CRT

                                  17   Product Manufacturers paid the alleged overcharge in the first instance and allegedly passed on

                                  18   some amount of that overcharge to the DAPs.

                                  19          Even though the DAPs (excluding Sharp) are indirect purchasers, they claim to have

                                  20   standing under the control exception set out by the Ninth Circuit in Royal Printing Co. v.

                                  21   Kimberly-Clark Corp., 621 F.2d 323 (9th Cir. 1980). Royal Printing is clear that indirect

                                  22   purchasers suing under the control exception must sue for “the entire overcharge amount” and not

                                  23   just that part of the overcharge that was passed on to them by direct purchasers. 621 F.2d at 327;

                                  24   see also id. (holding expressly that the indirect purchaser “c[ould] not sue . . . only for the portion

                                  25   of the overcharge that was passed on to it through [the direct purchaser]”). The Royal Printing

                                  26   court reasoned that if the indirect purchaser sued only for the amount of the overcharge it paid, a

                                  27   district court would be forced to determine “what portion of the illegal overcharge was ‘passed on’

                                  28   to [the indirect purchaser] and what part was absorbed by the middlemen [i.e., the direct
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                                   1   purchaser].” Id. That court concluded that such a process would be unacceptable because it

                                   2   would “involve all the evidentiary and economic complexities that Illinois Brick clearly forbade.”

                                   3   Id.; see also In re Optical Disk Drive Antitrust Litig., 303 F.R.D. 311, 322 n.7 (N.D. Cal. 2014)

                                   4   (applying this rule from Royal Printing); In re: Cathode Ray Tube (CRT) Antitrust Litig., 911 F.

                                   5   Supp. 2d 857, 871 (N.D. Cal. 2012) (same); In re Lithium Ion Batteries Antitrust Litig., No. 13-

                                   6   MD-2420 YGR, 2014 WL 309192, at *8 (N.D. Cal. Jan. 21, 2014) (same).

                                   7          Notwithstanding Royal Printing’s express ban on calculating damages based on pass-on

                                   8   amounts, instead of estimating damages based on the entire overcharge amount, the DAPs’

                                   9   damages expert estimates damages in his report based on how much was passed on to the DAPs.

                                  10   ECF No. 3596-5 at 8-9.1 Specifically, he reasons that the pass-on rate ought to be set at 100%. Id.

                                  11   Defendants argue that they are entitled to rebut the DAPs’ evidence of 100% pass-on with their

                                  12   own evidence showing a 60-70% pass-on rate. See, e.g., ECF No. 3596-3 at 5-6.
Northern District of California
 United States District Court




                                  13          Citing Royal Printing’s ban on pass-on calculations, the DAPs have filed a motion in

                                  14   limine asking the Court to exclude Defendants’ pass-on evidence. ECF No. 3558 at 33.

                                  15   Defendants have filed a separate motion in limine asking the Court to admit their evidence of pass-

                                  16   on calculations. ECF No. 3596-3.

                                  17          The Court ORDERS the parties to SHOW CAUSE why the Court should not exclude all

                                  18   evidence of upstream pass-on for the purpose of calculating damages under the Sherman Act.

                                  19   This includes evidence of pass-on calculations presented by Defendants and the DAPs as well as

                                  20   the DAPs’ evidence suggesting that the pass-on rate ought to be set at 100%.2 If the parties take

                                  21   the position that certain pass-on evidence ought to be admitted for the purpose of calculating

                                  22   damages for the DAPs’ Sherman Act claims, they should explain why their position is consistent

                                  23   with binding Ninth Circuit precedent. The parties, however, should not opine on whether pass-on

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                                        Pincites are to internal document page numbers, not ECF numbers.
                                       2
                                  26    The Court realizes the mathematical outcome is the same whether one calculates damages based
                                       exclusively on the overcharge or on 100% pass-on of the overcharge. The question is why the jury
                                  27   should consider pass-on in the first place. The distinction becomes important given that if the
                                       DAPs present evidence of a particular pass-on rate (even if that rate is 100%) then Defendants are
                                  28   entitled to rebut that evidence with their own evidence supporting a lower rate, an outcome that
                                       Royal Printing would seem to prohibit.
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                                   1   calculations are admissible with respect to the FTAIA, antitrust injury, state law claims, or any

                                   2   other purpose other than the calculation of damages for claims under the Sherman Act. The

                                   3   DAPs, collectively, and Defendants, collectively, should each file a single brief of no more than

                                   4   five pages. Briefs are to be filed simultaneously no later than June 20, 2016.

                                   5          Separately but relatedly, the Court recognizes that pass-on calculations are necessary in

                                   6   order to calculate damages under certain state law claims pursuant to so-called “repealer statutes.”

                                   7   The Court therefore ORDERS the parties to list such claims that remain, if any. The parties

                                   8   should also note whether any of those pending claims are subject to an unopposed motion for

                                   9   summary judgment. See, e.g., ECF No. 3253 at 1 n.1. Parties should file a single joint list no later

                                  10   than June 20, 2016.

                                  11          IT IS SO ORDERED.

                                  12   Dated: June 13, 2016
Northern District of California
 United States District Court




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                                                                                                     JON S. TIGAR
                                  14                                                           United States District Judge

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